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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                          )
                                                   )
          Plaintiff,                               )
                                                   )
          v.                                       )        No. 98-cr-40043-JPG
                                                   )
JASON SPICER,                                      )
                                                   )
          Defendant.                               )

                                     MEMORANDUM AND ORDER

          This matter comes before the Court on Defendant Jason Spicer’s pro se Motion to Appoint

Counsel (Doc. 307). Spicer seeks appointment of counsel to assist in his potential eligibility under the

amended crack cocaine sentencing guidelines. However, the Court appointed Federal Public Defender

Judith Kuenneke as counsel for Spicer on January 22, 2008, and Kuenneke remains Spicer’s attorney of

record.

          “The right to representation by counsel and self-representation are mutually exclusive.” Cain v.

Peters, 972 F.2d 748, 750 (7th Cir.1992). So-called “hybrid representation” confuses and extends matters

at trial and in other proceedings and, therefore, is forbidden. See United States v. Oreye, 263 F.3d 669,

672-73 (7th Cir.2001).

          In this case, Spicer has been granted representation by the Federal Public Defender. He is free

to consult with his attorney in order to ensure that the Court is fully informed as to the specifics of his

case and in order to ensure that the appropriate motions are filed. However, the Court will strike pro se

motions by Spicer so long as he is represented by counsel.

          Therefore, the Court STRIKES the instant motion (Doc. 307) from the record.

IT IS SO ORDERED.
Dated: December 9, 2009
                                                                             s/ J. Phil Gilbert
                                                                             J. PHIL GILBERT
                                                                             U.S. District Judge
